     Case 1:12-cr-00283-AWI-BAM Document 24 Filed 11/07/12 Page 1 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:12-cr-00283 AWI
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )       STIPULATION TO
                                        )       CONTINUE SENTENCING
14   MAIRO CORREA-GARCIA,               )
                                        )
15                                      )
                                        )
16                  Defendant.          )
     ___________________________________)
17
          Defendant, by and through his attorney, DALE BLICKENSTAFF,
18
     and the United States of America, by and through its attorneys,
19
     BENJAMIN B. WAGNER, United States Attorney, and KAREN A. ESCOBAR,
20
     Assistant United States Attorney, hereby enter into the following
21
     stipulation:
22
          The parties to the above-captioned matter agree to continue
23
     the sentencing in the above-captioned matter from December 3 to
24
     January 7, 2013, at 10 a.m.      The continuance is needed to allow
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     Defendant, who is housed in Lerdo, to comply with the safety valve
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     provisions and to accommodate the transportation schedule of the
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     U.S. Marshal Service and the work schedules of the government and
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     Case 1:12-cr-00283-AWI-BAM Document 24 Filed 11/07/12 Page 2 of 2



 1   its agents.

 2   DATED: November 6, 2012                     Respectfully submitted,

 3                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 4
                                                 By: /s/ Karen A. Escobar
 5                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
 6
                                                  /s/ Dale Blickenstaff
 7                                                DALE BLICKENSTAFF
                                                  Attorney for Defendant
 8                                                Mairo Correa-Garcia

 9                                 O R D E R

10        Having read and considered the foregoing stipulation,

11        IT IS THE ORDER of the Court that the above-captioned matter

12   shall be set for sentencing on January 7, 2013, at 10:00 a.m. and

13   that the December 3 sentencing hearing shall be vacated.

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15   IT IS SO ORDERED.
16
     Dated:        November 6, 2012
17   0m8i78
                          UNITED STATES DISTRICT JUDGE
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